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                              UNITED STATES DISTRICT COURT

                              SOUTHERN DISTRICT OF FLORIDA



 ARANTZA CASTRO                                                CASE NO.: 1:24-CV-20247-PCH

 Plaintiff,

 vs

 IKEA NORTH AMERICA SERVICES, LLC.

 A foreign for-profit corporation

 Defendant,

 ____________________________________________/

                                    NOTICE OF SETTLEMENT

 Plaintiff, ARANTZA CASTRO, through undersigned attorney Diego G. Mendez, Esq. pursuant
 to the Federal Rules Civil Procedure files this Notice of Settlement with Defendant. Parties seek
 30 days to finalize all settlement documentation and file a Notice of Voluntary Dismissal with
 Prejudice.

 Respectfully Submitted:


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